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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR12-47-MJP

10          v.                                           DETENTION ORDER

11 JUANITA SALAZAR,

12                                Defendant.

13 Offense charged:

14          Conspiracy to Distribute Controlled Substances.

15 Date of Detention Hearing: March 30, 2012.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant has been charged by indictment with a drug trafficking offense which carries a

23 presumption of detention. If convicted she faces a mandatory term of ten years in prison. Based



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 1 on her criminal history, if sentence enhancement information is filed, she faces a mandatory term

 2 of 20 years in prison. Defendant has a lengthy criminal history going back forty years. She has

 3 numerous convictions including felony convictions. She has a history of substance abuse. She

 4 has failed to appear for past court hearings and has committed violations while on supervision.

 5 The government proffered information indicating defendant’s criminal activities were observed

 6 while she was under police surveillance. The government has a strong case against defendant.

 7 Under these circumstances, defendant has failed to overcome the presumption of detention. In

 8 addition, defendant through her attorney stipulated to detention. It is therefore ORDERED:

 9          (1)    Defendant shall be detained pending trial and committed to the custody of the

10 Attorney General for confinement in a correctional facility separate, to the extent practicable,

11 from persons awaiting or serving sentences, or being held in custody pending appeal;

12          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

13 counsel;

14          (3)    On order of a court of the United States or on request of an attorney for the

15 Government, the person in charge of the correctional facility in which Defendant is confined

16 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

17 connection with a court proceeding; and

18          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

19 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

20 Officer.

21          DATED this 30th day of March, 2012.

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23
                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge


     DETENTION ORDER - 2
